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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



 Intersections Inc. and NEI, Inc.,

                         Plaintiffs,                      Civil Action No. 1:09CV597 (LMB/TCB)
                    v.

 Joseph C. Loomis and Jenni M. Loomis,

                         Defendants.


                       MEMORANDUM OF LAW IN SUPPORT OF
             INTERSECTIONS INC.’S AND NET ENFORCERS, INC.’S MOTION FOR
                        PROTECTIVE ORDER AND SANCTIONS

             Defendant Joseph C. Loomis (“Loomis”) and his counsel, Hunter, Humphrey & Yavitz,

 PLC, have engaged in a continuous and systematic pattern of conduct meant to harass and

 intimidate Plaintiffs Intersections Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI” and, with

 Intersections, “Plaintiffs”), and their counsel, DLA Piper LLP (US).                The conduct is

 compromising this litigation, threatening the parties’ ability to meet the discovery deadline set by

 this Court, and now jeopardizing the freedom and livelihood of Plaintiffs’ counsel. Plaintiffs,

 therefore, move for this protective order and for sanctions against Loomis and his counsel for

 this egregious behavior. Plaintiffs’ counsel certifies under Federal Rule of Civil Procedure

 26(c)(1) that it has made good faith efforts with Defendants’ counsel concerning the issues raised

 in this Motion for Protective Order. See Declaration of Michelle J. Dickinson (“Declaration”),

 filed in support of this Motion and attached hereto as Exhibit 1, ¶ 27.

        I.          Factual Background

             A.     The Litigation

             This case arises out of Loomis’ sale of all of his NEI stock to Intersections in November


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 2007 and his subsequent employment by NEI as its Chief Executive Officer. NEI was a closely-

 held corporation co-founded by Loomis.        Together with his sister, co-Defendant Jenni M.

 Loomis, Loomis defrauded Intersections out of millions of dollars in connection with

 Intersections’ acquisition of NEI’s stock by providing false financials and customer base

 information. Intersections paid Loomis $14 million in cash in addition to possible options and

 earnout payments, which together could total up to an additional $6 million, for NEI’s stock, and

 installed him as Chief Executive Officer of NEI.

         What Intersections did not know, however, was that it had grossly overpaid Loomis for

 his NEI stock based on false information provided by Defendants. Then, instead of running NEI,

 as promised, Loomis turned his time and energy to starting up and running other companies –

 using NEI resources and assets. It was not until Loomis’ improper use of NEI resources and

 assets was discovered, he was suspended, and an investigation was launched, that Defendants’

 fraudulent scheme began to come to light.

         In a last-ditch, desperate effort to conceal Defendants’ fraud after NEI suspended him and

 denied him access to its offices and computer system, Loomis unlawfully accessed NEI’s central

 computer server by intimidating an employee into providing him remote access and then

 destroyed company data. Loomis also caused his brother, Chris Loomis, to steal from NEI’s

 offices a computer tower containing additional company data, only moments before a computer

 technician was to image the computer to preserve the data.1 This prompted the termination of



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    Loomis maintains that prior to his termination, he copied all of the files from the computer
 tower to an external drive and gave that drive to an NEI employee. Loomis further contends that
 after his brother stole the computer tower on Loomis’ behalf from NEI’s offices, the computer
 was no longer functional, so Loomis returned the hard drives of the computer to the
 manufacturer and has installed replacement hard drives. A witness has confirmed, however, that
 Loomis returned the drives to the manufacturer to avoid giving the data to Intersections and NEI.
 As of this date, despite Plaintiffs’ repeated requests to image the hard drives of the computer

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 Loomis for cause, a deeper investigation into the financials of the company and Loomis’

 conduct, and ultimately led to this lawsuit, which was filed in May 2009 for claims of Securities

 Fraud, Fraud, Conspiracy, Tortious Interference, Breach of Contract, Breach of Fiduciary Duty,

 and Declaratory Judgment.

         B. The Threats

         On September 10, 2009, almost a full year after NEI terminated Loomis, Loomis’ counsel

 contacted Plaintiffs’ counsel and suggested that Loomis had just discovered that, after his

 termination, Loomis had retained possession of a laptop belonging to NEI and that he had

 accidentally returned to NEI a laptop belonging to him. See Id., Exh. A. In response, on

 September 16, 2009, Plaintiffs’ counsel requested that Loomis provide documentation supporting

 his claim so that Plaintiffs could investigate. See Id., Exh. B. On September 17, 2009, counsel

 for Loomis provided Plaintiffs with documentation and the model number of the laptop in

 Loomis’ possession. See Id., Exh. C.

         Plaintiffs’ counsel then undertook to determine the veracity of Loomis’ claim by

 reviewing the documentation provided and by obtaining and then reviewing documentation

 obtained from Plaintiffs regarding the laptop in NEI’s possession. See Id., ¶ 3. By letter dated

 September 25, 2009, Plaintiffs’ counsel advised Loomis’ counsel that it had confirmed that

 Loomis had indeed retained the wrong laptop upon his termination from NEI and that the laptop

 in his possession was NEI’s property. See Id., Exh. D. Plaintiffs’ counsel indicated that, prior to

 exchanging the laptops, NEI would remove and preserve a copy of all data contained on the

 laptop then in its possession in case it was needed for this litigation. See id. In the interest of

 cooperation, Plaintiffs’ counsel suggested that they would send a computer consultant to Arizona


 tower and Loomis’ agreement to permit Plaintiffs to do so, Loomis has not made the computer
 tower available for imaging by Plaintiffs.

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 to exchange the laptops and, at the same time, image any computer owned, leased, or used by

 Loomis during and/or after his employment with NEI, in accordance with an outstanding

 discovery request. See id. This would include the computer tower he stole from NEI after he

 was terminated. See id.

         A full week later, by email dated October 2, 2009, Loomis’ counsel acknowledged

 receipt of Plaintiff’s counsel’s September 25, 2009 letter and accepted Plaintiffs’ offer to have a

 computer technician facilitate the exchange of the laptops. Loomis’ counsel suggested they

 would be available to do so the following Monday (October 6) or Tuesday (October 7). See Id,

 Exh E. Loomis’ counsel did not respond to the request regarding imaging the computers.

         In response that same day, Plaintiffs’ counsel again suggested that the parties arrange for

 the computer consultant to image Loomis’ other computers pursuant to the outstanding discovery

 requests on the same day of the exchange to avoid the unnecessary additional expenses

 associated with the consultant having to make more than one trip to Arizona. See Id., Exh F.

         Loomis’ counsel did not respond until Monday, October 5, 2009, where they rescinded

 their agreement to allow the computer consultant to facilitate the exchange. See id., Exh G.

 Plaintiffs’ counsel immediately responded that a computer consultant was necessary and stated

 that “In light of the data destruction issues in this case, our client is taking extra measures to

 ensure that the exchange of computers does not unnecessarily lead to a data destruction

 problem.” See id., Exh H.      In response, Loomis’ counsel threatened to add a conversion

 counterclaim and have her client call the police:

         If I do not have Joe's laptop by the end of the business day tomorrow, we will
         move to add a conversion count to the counterclaim and Joe will call the police. I
         am not conditioning the release of NEI's laptop on the resolution of any of our
         discovery issues, and there is no excuse for you conditioning the release of Joe's
         laptop on any of those issues.



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 See id., Exh. I.

         In response, Plaintiffs’ counsel advised of their intention to return Loomis’ laptop in “the

 next week or so” after any NEI data was removed:

         We are prepared to retrieve Net Enforcers' laptop and return Loomis' laptop with
         the software intact and only the data removed. We will do so, however, only
         under circumstances that will protect our clients from potential claims from
         Loomis that our clients destroyed data or damaged either computer. Further, we
         will do so under circumstances such that a qualified computer technician may
         testify that the computer Loomis provides was not damaged after the exchange
         and before any forensic analysis can be performed. Accordingly, we will send a
         computer technician to your offices to make the exchange and transport the
         computer back to the East Coast for examination. We should be able to do so in
         the next week or so after the data has been removed. We trust this will assuage
         your desire to bring civil or criminal charges against our clients related to the
         laptop computer and will enable you to refocus your energies on the actual issues
         in this case.

         We again request that you provide Loomis' computers for imaging by the
         computer technician we send to exchange the laptops. This will save the parties
         time and resources. Rather than threatening a counterclaim or criminal action,
         perhaps you could respond to our request for the computer images directly and
         indicate whether you intend to produce Loomis' computers for imaging, an image
         of his computers, or nothing at all. If so, we can arrange for the images to be
         made by the computer technician at the time of the laptop exchange. If not,
         we will move forward with seeking the court's assistance with this matter.

 See id., Exh. J.

         Loomis’ counsel demanded the return of Loomis’ laptop by 5:00 p.m. the next day,

 October 6. She agreed, however, that that if Plaintiffs’ computer consultant could give sufficient

 notice for Loomis to arrange to get the computer tower to their offices prior to the consultant’s

 visit, he could image the hard drives on the computer tower that same day. See id., Exh. K.

         Plaintiffs’ counsel advised that the laptop was on its way to Washington, D.C., so that its

 computer consultant could remove NEI’s company data. See id., Exh. L. Plaintiffs’ counsel

 advised that they were taking extra precautions in light of the data destruction issues in this case:




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         The laptop Joe returned to NEI last year is on its way to Washington, D.C. so that
         our computer consultant can remove the data, not the software. Once it has been
         removed, we will arrange for a time for him to deliver it to your office in Arizona
         and pick up the NEI laptop. We will schedule the exchange for a day when Joe
         can provide the computer tower for imaging as well. We understand that you do
         not care whether we take special precautions with Joe's computer, but we must
         protect our clients from allegations Joe likely will make if we don't do so. If you
         recall, a just few hours ago, he had you ready to file a counterclaim and call the
         police over a laptop he gave NEI over a year ago and that we already agreed to
         return. We're covering ourselves. We expect you would do the same in this
         situation.


 Id.

         Loomis’ counsel responded and again raised the spector of criminal charges and a

 counterclaim. See id., Exh. M. Loomis’ counsel did not provide a date or time for the technician

 to image the computer tower.

         On October 14, 2009, Loomis’ counsel sent a person to NEI’s offices to return the laptop

 Loomis wrongfully retained. NEI’s employees did not know about or understand the nature of

 the dispute, and thus refused to accept the laptop. See id. at ¶ 11 and Exh. N. Loomis’ counsel

 stated in an email that day that Loomis had contacted the police regarding the alleged theft of his

 laptop. Id.

         Later that evening, Plaintiffs’ counsel advised by email that the computer consultant had

 determined that there was no company data on the laptop then in Plaintiffs’ possession.

 Plaintiffs’ counsel, therefore, suggested that Loomis advise as to when he could arrange for the

 computer tower to be retrieved from storage so that a computer consultant could facilitate the

 exchange of the laptops and image the computer tower on the same day. See id., Exh. O.

         On October 15, 2009, Loomis’ counsel demanded that Plaintiffs immediately retrieve the

 laptop then in Loomis’ possession. Loomis’ counsel accused Plaintiffs’ counsel of the interstate

 transportation of stolen goods and advised that the police were being notified:


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         Michelle, Isabel is out of the office today, but I saw this email and must respond.
         You were informed on September 10 that NEI was in possession of Joe's laptop,
         that it had no NEI data on it and that Joe wanted it back immediately. The
         laptop was in this building in AZ, but you and NEI refused to return it, and to
         make matters worse, NEI removed it from the building and from Arizona
         (interstate transportation of stolen goods). Now over a month later, you finally
         send this email, acknowledging that everything Joe told you about the laptop was
         true. Let me make myself clear, you are holding stolen property. The police
         are being notified. You can make all of the excuses that you want to, but
         continuing to hold someone else's property after they have demanded its return is
         theft. Look it up.

         Regarding NEI's computer, we have tried to return it to you, but you have not
         agreed to accept it. We tried to deliver it to NEI right here in the building (as they
         are moving out) but they refused it, claiming they had to talk to "their lawyer"
         first. I WILL NOT KEEP THIS COMPUTER IN THIS OFFICE FOR
         ANOTHER DAY. It's your choice, either NEI accepts it downstairs or I will
         personally deliver it to the DLA Piper office at 1 pm AZ time today. Your
         choice. If I don't hear from you in the next two hours, I will make the choice for
         you.


 See id., Exh. P.

         Before Plaintiffs’ counsel had the opportunity to respond, Loomis’ counsel sent another

 email stating:

         Only 45 minutes to go and, if I don't hear from you, I will make the choice for
         you. Either it will go to NEI's office here in our building or to the DLA Piper
         office in AZ (that I can see out my window). Make the choice in the next 45
         minutes, or I'll make it for you. No more fooling around.

 See id., Exh. Q.


         In response to the first email, Plaintiffs’ counsel advised of their understanding that

 Loomis’ counsel had agreed to exchange the laptops on the same day that a computer consultant

 imaged the computer tower and that as soon as Loomis provided a date, Plaintiffs would send a

 computer technician to Arizona. See Id., Exh. R. See also, Exh. S.

         Loomis’ counsel responded:



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         Wrong. Read my lips - The NEI laptop WILL NOT remain in our office for one
         more day. Your time is up.


 See id., Exh. T.

         Later that afternoon, Loomis had the laptop in his possession delivered to the Phoenix

 office of Plaintiffs’ counsel. See Id., Exh. U:

         MIchelle, attached is an Acknowledgement of Receipt signed by your law firm's
         AZ receptionist Paula Hawley, acknowledging the receipt of NEI's laptop. The
         police have been notified that your client, with your help, has stolen Joe's laptop
         and transported the stolen laptop out of state. We demanded its return September
         10. It was right here in our building when you learned that it was Joe's laptop and
         that he wanted it back immediately. After that, you and/or your client spirited it
         out of the building and transported it accross [sic] state lines. You have spent the
         last 35 days making excuses on why you didn't return it. I don't know about your
         jurisdiction, but in AZ, if a lawyer aided and abetted a client in a theft (and then
         encouraged the client to transport the stolen property across state lines) the AZ
         state bar would frown on that. We are done fooling around with this. It is now a
         police matter. I won't be surprised if you and your client are arrested when
         you arrive in AZ.

         By letter sent via email on Friday, October 16, 2009, Plaintiffs’ counsel advised that a

 computer consultant would arrive at Loomis’ counsel’s law offices on Monday, October 19,

 2009 to deliver the laptop and to image the computer tower. Plaintiff’s counsel expressed their

 hope that this was the end of Loomis’ and his counsel’s diversionary tactics and that the parties

 could get back to litigating this case. See id., Exh. V.


         On Monday, October 19, 2009, Plaintiffs’ computer technician delivered the laptop to

 Loomis’ counsel. Loomis’ counsel did not, however, provide the computer tower for imaging.

 See id., ¶ 19.

         On the night of October 19, 2009, Loomis sent an email to Plaintiffs’ counsel threatening

 criminal charges:




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         Fyi, I have a criminal attorney working on this. She was the public defender for
         Phoenix for many years and knows the city prosecutor very well. Relationships I
         built while working for the feds. I expect to have the investigation and charges
         filed    within   a    week,     including    Dickinson    and     also   INTX.

         I wonder if they are going to try to lie their way out of this one also. It sure will be
         a circus act for their shareholders. I feel bad for those who own stock of intx, a
         identity theft company stealing property. I also expect to also explain this to the
         wsj also.

 See id., Exh. W.


         On October 20, 2009, Loomis’ counsel emailed Plaintiffs’ counsel and again accused

 Plaintiffs’ counsel and Plaintiffs of theft and threatened to have them thrown in jail:

         I have to tell you a true story. My daughter is also an attorney in AZ, and she had
         a witness in a case that was in jail, and the sheriff failed to transport the woman to
         court. I asked why the woman was in jail and learned that the woman had
         a boyfriend who always left his car unlocked and his keys under the seat of his car
         while he was at work. He had told that woman that if she needed transportation,
         she could use his car but it had to be back when he got off work. Some time
         later the woman had a need for transportation and borrowed his car from his place
         of work. When he came out of work...no car. He called the police, and while the
         police were standing there, she drove up with his car to return it. She is now
         doing 2 years in jail for the theft of that car!!! In AZ we frown upon folks taking
         other people's property without permission.

 See id., Exh. X.

         C. The Intimidation

         Since the filing of the Complaint of this action in May 2009, Loomis has continuously

 attempted to contact both Intersections and NEI executives and employees, despite repeated

 requests that he not do so. Loomis’ current counsel has condoned their client’s behavior.

         Since August 3, 2009, Loomis has repeatedly emailed and even left a voicemail message

 for Intersections’ CEO Michael Stanfield regarding fabricated business opportunities and

 settlement offers consisting of both parties walking away. See id., Exh. Y. Plaintiffs’ counsel

 has repeatedly requested that Loomis cease all communications, but Loomis’ counsel has


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 refused. See id., ¶ 23.

         On October 22, 2009, however, Loomis crossed the line from irritation to harassment and

 intimidation when he emailed Mr. Stanfield threatening criminal action against Intersections and

 counsel as well as a bar complaint. Indeed, Loomis even threatened to reveal an alleged extra-

 marital affair by an Intersections employee.

                   To date, your “brilliant” representation has only demonstrated
                   how to be a criminal, earned themselves a bar complaint and
                   investigation and soon is only going to land either NEI,
                   [Intersections] or themselves in Jail . . . . This is no threat either,
                   its [sic] merely explaining to you the continued collateral manage
                   [sic] that your counsel and “team” are creating. Once the
                   newspapers get a hold of this, what do you think the shareholders
                   are going to say about this? . . . [Intersections] hasn’t been in the
                   newspapers very much but it seems that the “team” is going to
                   make it pretty popular.

  See Id., Exh Y.

         Loomis, however, has not limited his harassment to Intersections’ CEO. Indeed, on

 August 31, 2009, Loomis contacted an NEI employee by telephone and threatened that if he

 testified in this action Loomis would adversely affect his career. Loomis also attempted to call a

 female employee of NEI that day. The NEI employees are in such fear for the personal safety

 because of Loomis’ harassment, that NEI has had to hire Allied Barton security to protect its

 employees and witnesses. See Id., ¶ 25.

         On September 9, 2009, Plaintiffs’ counsel again told Loomis’ counsel that neither

 Plaintiff wanted to have any direct contact with Loomis and requested that Loomis’ counsel

 advise him to stop communicating directly with Plaintiffs and stop calling and intimidating

 Plaintiffs’ employees. Two days later, on September 11, 2009, counsel for Loomis responded to

 Plaintiffs’ request with the following: “I received a letter from you responding to mine. I forget

 the date because I placed it so quickly in the round file. In the future, please don’t waste your


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 time or mine writing to me with another audience in mind.” See id., Exh. Z. Plaintiffs’ counsel

 responded:

           The letter to which I believe you are referring dealt with, among other things,
           your clients' intimidation of witnesses. I cannot image how you would consider
           such a serious topic to be a waste of your time, much less mine. We take this
           matter very seriously and will not hesitate to escalate it to the court, if it
           continues. And yes, my letter was written with the expectation that the court may
           at some point need to see its contents. Regardless of the topic, however, I always
           treat opposing counsel with respect, whether deserved or not. I would expect the
           same from you in the future.

 See id.

           D. The Depositions

           Both parties in this case have noted or stated their intention to take numerous depositions

 in the State of Arizona. According to Loomis and Loomis’ counsel, however, if Plaintiffs’

 counsel or Intersections representatives travel to Arizona for depositions, they should expect to

 be arrested and thrown in jail. Accordingly, on October 22, 2009, Plaintiffs’ counsel met and

 conferred with Loomis’ counsel and advised that the depositions would have to take place in

 Virginia or another state. Loomis’ counsel advised by email that Plaintiffs’ counsel should travel

 to Arizona and “face the music.” Loomis’ counsel has refused to agree to depositions in Virginia

 or any other location for these witnesses:

           Michelle, I think it is very appropriate that Joe has given you fair notice of a
           pending criminal complaint rather than ambushing you. You should thank him
           for acting fairly and responsibly. If you feel you are not criminally liable for
           directing the theft and interstate transportation of stolen property, I'm sure there
           are a few (hundred) criminal attorneys at your firm who could attempt to persuade
           the prosecutor not to prosecute. Hiding is not the answer.

           In addition, it may be a violation of your ethical obligations as an officer of the
           court to attempt to avoid a warrant for your arrest, if indeed any such warrant has
           been issued. (We believe it would be an ethical violation in Arizona, at least, but
           perhaps your state has different rules.) Moreover, given principles of comity, we
           doubt that any federal judge would want to participate in assisting an attorney in
           avoiding criminal prosecution in another jurisdiction. You may not respect
           Arizona, but the federal courts generally treat it like a state just like any other.

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            As it turns out, there are a number of deponents with no attachment to either side
            who reside in Arizona. You have noticed depositions of Larry Heimer, Sheila
            Snyder, Keith Jenkins, Matt Leberer and Chris Loomis. These can take place
            nowhere but Arizona. It is perhaps a small thing to be deposed in Maryland vs.
            DC vs. Virginia. Phoenix is 250 miles from any border. People will not simply
            "step over the border" as you stated, to protect you, to whom they owe no favors.
            Since you have to be in Arizona in any event for these 5 depositions, reneging on
            our stipulations to depose Jenni and Joe Loomis in Arizona (after flight
            arrangements have been made and paid for) and seeking a protective order to
            force us to take the depositions of Stuart Bennett and Daniel DiDio outside
            Arizona will do you no good.

            I know you are panicked, but you have not developed a sensible response. Let me
            suggest three. (1) Come to Arizona and face the music; (2) take the depositions
            by video conference; and (3) send another of the 1500 DLA Piper lawyers.

 See id., Exh. AA. This left Intersections and its counsel no other choice but to seek a protective

 order from this Court requiring all party and Arizona depositions to be taken in Virginia.

      II.          A Protective Order Is Warranted

            Loomis and his current counsel, Hunter, Humphrey & Yavitz, PLC, are engaged in a

 continuous and systematic pattern of harassment and intimidation directed towards Plaintiffs,

 Intersections and NEI, as well as their counsel, DLA Piper LLP (US). As discussed more fully

 above, this conduct has become so pervasive that Plaintiffs and their counsel seek (1) the Court’s

 assistance in restraining Loomis and his counsel from any further harassment, (2) a protective

 order specifying that all Arizona depositions and party depositions be held in Virginia, and (3)

 Court-ordered sanctions.

                   A.       Loomis and His Counsel Have Threatened to File Baseless Criminal
                            Charges Against Intersections and Its Counsel In Arizona and Have
                            Them Thrown in Jail If They Enter Arizona for Depositions

            Within days of entering their appearance in this case, Loomis’ counsel went from

 cooperative new kids on the block to playground bullies. As explained in the Motion to Compel

 Discovery, filed contemporaneously herewith and incorporated herein, Loomis’ counsel appear


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 to have done everything but work on this case in a meaningful and ethical manner.               Far

 surpassing their everyday hi jinx of refusing to produce documents, then promising them right

 before a motion to compel could be filed, then not following through on those promises, etc.,

 Loomis’ counsel have condoned conduct on behalf of their client meant to harass and intimidate

 Plaintiffs and their counsel and now have taken to harassing and intimidating counsel themselves

 – threatening counsel’s freedom and livelihood.

         The most egregious form of harassment by Loomis and his counsel revolves around the

 return of a laptop computer. In short, Loomis took the wrong computer when he was terminated

 by NEI. He figured this out in September and his counsel requested a swap of laptops – Loomis’

 laptop for NEI’s laptop, which he had retained for almost a year. Plaintiffs’ counsel conducted

 an investigation and determined Loomis had indeed kept the wrong computer. Thus, Plaintiffs’

 counsel had the laptop in NEI’s possession delivered to Navigant Consulting in Washington,

 D.C., for removal of any NEI data. Plaintiffs’ counsel advised Loomis’ counsel of its intention

 to remove the data and make the swap. In response, Loomis’ counsel repeatedly threatened

 criminal charges against counsel for moving stolen property across state lines (the laptop Loomis

 gave to NEI in 2008). Navigant determined there was no company data on the machine, and

 Plaintiffs’ counsel offered to set up the exchange and image one of Loomis’ other computers at

 the same time, but received only threats in return. Loomis’ counsel delivered NEI’s laptop to

 Plaintiffs on Friday, October 16, 2009. Plaintiffs then delivered Loomis’ laptop to his counsel on

 Monday, October 19, 2009.

         There can be no question that the laptop was not stolen. Loomis’ counsel, however,

 insists that criminal charges have been filed and that counsel and Intersections will be arrested if

 they travel to Arizona for depositions. Any criminal charges or bar complaints related to this or



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 any other matter in this case against Intersections, NEI or their counsel would be preposterous

 and a flagrant violation of the ethical rules by counsel and an abuse of the criminal process by

 Loomis.

                   B.    Loomis, with the Approval and Support of His Counsel, Continues to
                         Attempt Direct Contact with Intersections and NEI Despite Their
                         Request that He Cease Such Conduct

         Rather than litigating this case, Loomis has turned his attention to harassing and

 intimidating Intersections and NEI employees/witnesses and their counsel to prevent them from

 properly litigating this case and exposing Defendants’ fraud to the Court. Loomis’ counsel has

 condoned and refused to put a stop to this conduct. Indeed, Loomis has stooped so low as to

 threaten Intersections’ CEO with disclosure of an Intersections’ employees alleged infidelity,

 threaten an NEI employee with the ruin of his career, and has made NEI employees so fearful for

 their safety that NEI has had to hire full-time security. This cannot be allowed to continue.

                   C.    All Depositions of Parties and Arizona Witnesses Must Be Taken In
                         Virginia

         No theft has been committed. No criminal charges are warranted. Notwithstanding,

 Loomis and his counsel have informed Plaintiffs and their counsel that criminal charges have

 been filed in Arizona against Intersections and their counsel and that they should expect to be

 arrested and thrown in jail if they travel to Arizona for the depositions.         Currently, both

 Defendants’ depositions are scheduled for November in Arizona, as are depositions of the

 accountant, and several other witnesses. This Court properly has jurisdiction over most of the

 witnesses, as they are parties to this case or perform work in NEI’s Virginia office. The parties

 should be compelled to take all Arizona depositions in Virginia.




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                                         CONCLUSION

         WHEREFORE, for the reasons set forth above, Plaintiffs respectfully request that the

 Court grant their Motion for Protective Order, order sanctions against Loomis and his counsel in

 an amount and/or form to be determined at the hearing, and award its attorneys’ fees and costs.

  Dated: October 23, 2009                      Respectfully submitted,


                                               By:       /s/
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of October, 2009, I caused the foregoing

 Memorandum in Support of Intersections Inc.’s and Net Enforcers, Inc.’s Motion for Protective

 Order and Sanctions to be electronically filed with the Clerk of the Court using the CM/ECF

 system, which will then send a notification of such filing (NEF) to the following:

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         And I hereby certify that I will electronically mail the document to the following non-

 filing users:

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